Case 6:20-cv-06141-RTD Document 33               Filed 05/31/22 Page 1 of 1 PageID #: 309



                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 HOT SPRINGS DIVISION

ALANA COVEY                                                                       PLAINTIFF


v.                                 Case No. 6:20-cv-06141


NATIONAL PARK COLLEGE                                                          DEFENDANT

                                        JUDGMENT

       For the reasons stated in the Memorandum Opinion of equal date, the Motion for Summary

Judgment filed by Defendant National Park College (ECF No. 21) is hereby GRANTED. Plaintiff’s

Complaint (ECF No. 2) is hereby DISMISSED WITH PREJUDICE.

       IT IS SO ORDERED this 31st day of May 2022.




                                          /s/Robert T. Dawson
                                          ROBERT T. DAWSON
                                          SENIOR U.S. DISTRICT JUDGE




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